                      So Ordered.

      Dated: January 17th, 2019




                   UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF WASHINGTON

In re:                                         Case No. 18-03197-11

GIGA WATT INC.                                 ORDER GRANTING
                                               COMMITTEE’S MOTION TO
                        Debtor.                APPOINT CHAPTER 11
                                               TRUSTEE

         THIS MATTER came before the court on the Motion on the Unsecured

Creditors Committee of Giga Watt Inc. to Appoint a Chapter 11 Trustee (ECF No.

104). The court reviewed the files and records herein, heard argument of the

parties, and was fully advised in the premises. Pursuant to Fed. R. Bankr. P.

9014(c) and 7052, the court’s oral ruling constitutes its findings of fact and

conclusions of law. Now, therefore,

         IT IS ORDERED:

         1.   The Motion (ECF No. 104) is GRANTED; and




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       2.   Pursuant to 11 U.S.C. § 1104, the Office of the United States Trustee

shall appoint a Chapter 11 Trustee.



                                 ///End of Order///




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